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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                                 Case No.: 8:22-cr-329-WFJ-AEP

  CRUZ ARRAY CARRION
  ___________________________________/

                                        ORDER

        Citing Amendment 821 to the United States Sentencing Guidelines, Cruz

  Array Carrion, USM#: 07664-506, moves, pro se, (Dkt. 234) for a reduction in

  sentence. Amendment 821, Part B, amends Section 4C1.1, United States

  Sentencing Guidelines, to permit a two-level decrease to a defendant’s offense

  level if a defendant satisfies the criteria in Section 4C1.1(a), including the absence

  of a criminal history point under Chapter 4.

        Under 18 U.S.C. § 3582(c)(2), an incarcerated defendant’s prison sentence

  might warrant a retroactive reduction if the advisory sentencing range on which the

  defendant’s sentence was based “has subsequently been lowered by the Sentencing

  Commission . . . [and] if such a reduction is consistent with applicable policy

  statements issued by the Sentencing Commission.” Under 28 U.S.C. § 994(u), if

  the Sentencing Commission lowers the advisory sentencing range for a “particular

  offense or category of offense,” the Sentencing Commission must “specify in what

  circumstances and by what amount the sentences of prisoners serving terms of
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  imprisonment for the offense may be reduced.” Section 1B1.10, United States

  Sentencing Guidelines, expressly permits a retroactive reduction for an

  incarcerated defendant to whom Amendment 821 applies, but any reduction cannot

  decrease a sentence below the time that the defendant “has already served.”

          Accordingly, because Amendment 821 lowers the advisory sentencing range

  for a defendant without, among other things, a criminal history point, Section

  3582, Section 994(u), and Section 1B1.10 permit a reduction in an incarcerated

  defendant’s prison term if at sentencing the defendant had no criminal history

  points, if the offense of conviction satisfies the criteria in Section 4C1.1(a), and if a

  reduction is consistent with 18 U.S.C. § 3553(a).

          On April 14, 2023, Cruz Array Carrion was sentenced under 46 U.S.C. §§

  70503(a), 70506(a) and (b), 21 U.S.C. § 960(b)(1)(G), to 30 months. Mr. Array

  Carrion’s total offense level was 25. He was assessed no criminal history points,

  and his criminal history was category I. Mr. Array Carrion’s advisory sentencing

  range was 57-71 months, and he received a significant downward variance. The

  Bureau of Prisons reports that he is no longer in BOP custody as of October 18,

  2024.

          In accord with the Middle District of Florida’s administrative order (Dkt.

  115 in 3:21-mc-1-TJC) implementing Amendment 821, the United States

  Probation Office must submit a memorandum (1) that states whether a movant is

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  eligible for a sentence reduction under Amendment 821 and (2) if the movant is

  eligible, that proposes a new advisory sentencing range based on the decrease

  authorized by Amendment 821. USPO submits a memorandum reporting that

  under 18 U.S.C. § 3582(c)(2) and the policy statement in USSG §1B1.10(b)(2)(A),

  a retroactive application of Amendment 821 would impermissibly reduce Mr.

  Array Carrion’s term of imprisonment to less than the minimum of the amended

  guideline range of 46 to 57 months. Mr. Array Carrion previously received a 30-

  month prison term.

        A Federal Defender was appointed and filed a notice of satisfying its

  requirements under the Amendment 821 Omnibus Order. Dkt. 257. The Federal

  Defender will not be filing a motion for sentence reduction on behalf of Defendant

  Array Carrion because he “received a sentence that was equal to or less than the

  minimum of the amended guideline range as adjusted by a comparable substantial

  assistance departure.” Id. The Court already granted a downward variance, and

  no substantial assistance motion was filed. See USSG §1B1.10(b)(2)(B)

  (permitting consideration of whether a comparable reduction for substantial

  assistance might be appropriate).

        Even if Defendant were eligible and even considering the revised advisory

  guidelines and the sentencing factors in 18 U.S.C. § 3553(a), the Court would not

  reduce the 30-month sentence. To reduce this sentence further would not properly

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  “reflect the seriousness of the offense” or “promote respect for the law.” See id. at

  (a)(2)(A). The sentences courts impose (and the sentences courts reduce) have an

  effect upon deterrence (see id. at (a)(2)(B)) and deterrence would be impaired by

  this proposed reduction.

        Mr. Cruz Array Carrion’s pro se motion (Dkt. 234) for a reduction in

  sentence is DENIED.

        DONE AND ORDERED at Tampa, Florida on February 14, 2025.




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